           Case 3:18-cv-01477-AB             Document 284-6      Filed 11/16/22   Page 1 of 3




                Subject
                  **MORHL OC: MOR -



                Question Reference# 180614-001904
                  Assigned: Carla Lowe
                  Date Created: 06/14/2018 02:52 PM
                  Date Last Updated: 08/30/2019 03:24 PM
                  Status: Resolved
                Note By (Brenna Cordoba) (10/11/2018 02:03 PM)
                Sr. HRBP: Hoogers
                HRBP: Brouwer
                ER:
                Follow Up: Coaching document
                Follow Up Date: 8-14-2018
                Action Delivered By: Iris Yen, Michael Spillane, Rolien Hoogers


                Customer                    4/2018 02:52
                From MOR Hotline & Transitioned From Outside Counsel
                HRLT: Hoogers
                HRBP: Brouwer
                Person of Interest:
                Complainant:
                Reference




                                                                                       ,. EXHIBIT
                                                                                               581
                                                                                          Alison Daugherty
                                                                                               1/8/2021
                                                                                          Aleshia Macom - CSR, CCR




Highly Confidential - Attorneys' Eyes Only                                              NIKE_00032843
                                                                     Sun Decl. Ex. 46, Page 1 of 3
             Case 3:18-cv-01477-AB                Document 284-6        Filed 11/16/22           Page 2 of 3




                                                 NIKE PROJECT STARFISH
                                                  EXECUTIVE SUMMARY
   Name:                                     I Reoorts to:
                                             I
   Describe Investigation To Date
   Reviewed documentation; interviewed Starfish complainant, two current female direct reports, and current
   HRBP who handled Complainant's initial HR complaint.
   Spoke to Subject?
   No. Campi               did not want   to be interviewed due to strong fear of retaliation.
   Summarv of Select Alleaations:
   Gender Bias

   • Was completely disrespected by             in                 group. No problems until he came on
     board. Almost left NIKE because of him. Terrorized her. He wouldn't stop. Boys club attitude. Knows
     he can get away with it. Sad to say,             turned a blind eye.

   • Gender bias. On team with other men. They had no issues. They didn't get demeaned. She was top
     performer but was not set up for career advancement. Her male colleague moved up, doesn't
     understand how. Biggest concern is that she already reported this situation to HR and nothing was done
     except she was moved to a another role deeper in the organization, with no track for development.

   Ineffective Leadership

   • Fails or refuses to communicate with his team regarding key facts (e.g., new hires, project details and
     assignments, promotion of new boss); displays lack of interest in developing careers of his reports; in his
     current role, has never called a group meeting of his direct reports on any issues, including recent MOR­
     related events and                  termination; indignantly refused team member request for huddle to
     discuss Montagne's promotion and impact on team.




      SEYFARTH--
            �H AW�
Highly Confidential - Attorneys' Eyes Only                                                             NIKE 00032844
                                                                               Sun Decl. Ex. 46, Page 2 of 3
           Case 3:18-cv-01477-AB                  Document 284-6                Filed 11/16/22            Page 3 of 3




          Re:     Coaching - Matter of Respect                                          Beaverton, July 20 2018



          This e-mail confirms our discussion on July 11 2018. At that time, we shared with you that we received
          concerns that you engaged in behavior inconsistent with Nike's Matter of Respect policy.

          In general, we received concerns that you engaged in behavior that was perceived as perpetuating the "in
          crowd vs. the out crowd", prioritizing work content over team dynamics and employee development and not
          delegating appropriately.

          As you know, we take all concerns seriously and our Matter of Respect team investigated. That investigation
          concluded that you engaged in some conduct inconsistent with our policy and that the conduct and
          employees' perceptions about your conduct were serious enough to warrant follow-up and coaching. As we
          discussed, going forward, you will focus on the following;

          • Promote Inclusion. Remain focused on creating an environment where all employees feel valued and
          included, whether in meetings, lunch outings or social events.
          • Value Diverse Viewpoints. Actively value the contributions of other employees, invest in the development
          of team members
          • Model Teamwork. Collaborate openly and often with team members, and avoid forming cliques or
          subgroups.

          In addition, our commitments and investments to support you with the above are ;
              • Ongoing and regular feedback
              • A formal 360 degree feedback in August 2018
              • Partnership with a leadership coach
              • Another formal 360 degree feedback early 2019.

                we are confident you understand the seriousness of this situation and the importance of creating a
          culture of inclusion and respect. We expect that you will work to address the concerns above and to model
          Nike values and leadership expectations.

          Also, please remember that the Matter of Respect policy prohibits retaliating against an individual because
          they raised concerns or complaints and/ or participated in an investigation. Behavior that can be considered
          retaliation can be direct (taking a negative employment action against someone) or subtle (ignoring, isolating
          or freezing out persons suspected of participating in a complaint or investigation). Anyone found to have
          engaged in retaliatory behavior will be subject to corrective action, up to and including termination.

          We understand that this process is difficult for all involved, and we thank you for your professionalism and
          commitment to move forward. As part of that commitment, we ask that you refrain from communicating
          about the investigation or its findings with others. If you have concerns or you wish to discuss this further, I
          urge you to contact me or Rolien Hoogers,

          This summary of our conversation will be retained by Employee Relations as confirmation of our discussion
          and your commitment to make improvements.

          Regards,




                                                            Page 1 of 1




Highly Confidential - Attorneys' Eyes Only                                                                          NI KE_00032845
                                                                                       Sun Decl. Ex. 46, Page 3 of 3
